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                                 UNITED STATES BANKRUPTCY COURT
                                  EASTERN DISTRICT OF KENTUCKY
                                       COVINGTON DIVISION

IN RE

CHRISTOPHER LEE HIGHLANDER                                                              CASE NO. 17-20965
LISA CAROL HIGHLANDER

DEBTOR(S)

CHRISTOPHER LEE HIGHLANDER
LISA CAROL HIGHLANDER                                                                        PLAINTIFF(S)
 
V.                                                                                        ADV. NO. 17-2026

COUNTRYSIDE RENTALS, INC.,
d/b/a Rent-2-Own Company
MELINDA "DOE", EMPLOYEE OF RENT-2-OWN COMPANY
MAYSVILLE, KENTUCKY
BEN "DOE", EMPLOYEE OF RENT-2-OWN COMPANY
MAYSVILLE, KENTUCKY                                                                        DEFENDANT(S)
 
                              SUMMONS IN AN ADVERSARY PROCEEDING

YOU ARE SUMMONED and required to file electronically a motion or answer to the complaint which is
attached to this summons with the Clerk of the Bankruptcy Court within 30 days after the date of issuance of
this summons, except that the United States and its offices and agencies shall file a motion or answer to the
complaint within 35 days.

At the same time, you must also serve a copy of the motion or answer upon the plaintiff’s attorney, Brian T.
Canupp, Esq. (The attorney should receive notice automatically when the motion or answer is filed
electronically.)

If you make a motion, your time to answer is governed by Fed. R. Bankr. P. 7012.

IF YOU FAIL TO RESPOND TO THE SUMMONS, YOUR FAILURE WILL BE DEEMED TO BE
YOUR CONSENT TO ENTRY OF A JUDGMENT BY THE BANKRUPTCY COURT AND
JUDGMENT BY DEFAULT MAY BE TAKEN AGAINST YOU FOR THE RELIEF DEMANDED IN
THE COMPLAINT.

Date of Issuance: January 31, 2018
                                          
                                                            
                                          
                                                            
                                          
                                                           Nathan W. Lee, Clerk
                                          
                                                           US Bankruptcy Court

                                                           By: /s/ G. S. Caulder
                                                           Deputy Clerk
                                                            

The affixing of this Court’s electronic seal above is proof this document has been entered by the Clerk in the
official record of this case.
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                                 UNITED STATES BANKRUPTCY COURT
                                  EASTERN DISTRICT OF KENTUCKY
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MAYSVILLE, KENTUCKY
BEN "DOE", EMPLOYEE OF RENT-2-OWN COMPANY
MAYSVILLE, KENTUCKY                                                                       DEFENDANT(S)
 
                                    CERTIFICATE OF SERVICE

          I,                                  (name), certify that service of this summons and a copy of the

    complaint was made                                  (date) by:


                Mail service: Regular, first class United States mail, postage fully pre-paid, addressed to:




                Personal Service: By leaving the process with the defendant or with an officer or agent of
                 defendant at:
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               Residence Service: By leaving the process with the following adult at:




               Certified Mail Service on an Insured Depository Institution: By sending the process by
                certified mail addressed to the following officer of the defendant at:




               Publication: The defendant was served as follows: [Describe briefly]




               State Law: The defendant was served pursuant to the laws of the State of                 , as
                follows: [Describe briefly]



         If service was made by personal service, by residence service, or pursuant to state law, I further certify
 that I am, and at all times during the service of process was, not less than 18 years of age and not a party to the
 matter concerning which service of process was made.

         Under penalty of perjury, I declare that the foregoing is true and correct.


         Date                       Signature


                 Print Name:                    ___________________________________

                 Business Address:              ___________________________________

                                                ___________________________________




Note: Upon service, this certificate should be completed and filed with the Court. If filing electronically, the
appropriate event for filing is Summons Service Executed on the Adversary Complaint & Summons menu.
